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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 11-247V
                                          (Not to be published)

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                                                    *
SERENA A. BOURNE,                                   *       Filed: January 13, 2015
Legal representative and parent of a minor child, *
J.A.B.,                                             *
                                                    *       Decision by Stipulation; Damages;
                      Petitioner,                   *       Diphtheria-Tetanus-Acellular
                                                    *       Pertussis (“DTaP”) Vaccine;
              v.                                    *       Haemophilus Influenza (“Hib”)
                                                    *       Vaccine; Inactive Polio Virus
SECRETARY OF HEALTH AND                             *       (“IPV”) Vaccine; Pneumococcal
HUMAN SERVICES,                                     *       Conjugate (“PCV”) Vaccine;
                                                    *       Hepatitis B (“Hep B”) Vaccine;
                      Respondent.                   *       Rotavirus Vaccine; Seizure
                                                    *       Disorder
*****************************
Richard H. Moeller, Berenstein, Moore, et al., Sioux City, IA, for Petitioner.

Jennifer Reynaud, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION AWARDING DAMAGES1

        On April 19, 2011, Serena A. Bourne, as legal representative and parent of a minor child,
J.A.B., filed a petition seeking compensation under the National Vaccine Injury Compensation
Program.2 Petitioner alleges that as a result of receiving the diphtheria-tetanus-acellular pertussis
(“DTaP”), haemophilus influenza (“Hib”), inactive polio virus (“IPV”), pneumococcal conjugate
(“PCV”), hepatitis B (“Hep B”), and rotavirus vaccines on April 15, 2009, J.A.B. sustained a
vaccine-related injury diagnosed as a seizure disorder, and that J.A.B experienced the residual
effects of this injury for more than six months.

1
  Because this decision contains a reasoned explanation for my action in this case, it will be posted on the website of
the United States Court of Federal Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
§ 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the inclusion of certain kinds of confidential information. To
do so, Vaccine Rule 18(b) provides that each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program comprises Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (codified as amended, 42 U.S.C.A. ' 300aa-10 – 34 (2006))
[hereinafter “Vaccine Act” or “the Act”]. Individual sections references hereafter will be to ' 300aa of the Act.
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        Respondent denies that J.A.B.’s alleged injury and residual effects were caused-in-fact by
the DTaP, Hib, IPV, PCV, Hep B, or rotavirus vaccines. Respondent further denies that any of
these vaccines, either alone or in combination, caused J.A.B. any other injury or his current
condition. Nonetheless both parties, while maintaining their above-stated positions, agreed in a
stipulation (filed January 8, 2015) that the issues before them can be settled, and that a decision
should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation (as attached hereto) is reasonable. I therefore adopt it as my decision in awarding
damages on the terms set forth therein.

        The stipulation awards:

                  A lump sum of $230,000.00 in the form of a check payable to Petitioner as the
                   Guardian/Conservator of the estate of J.A.B., for the benefit of J.A.B. This
                   amount represents compensation for all remaining damages that would be
                   available under 42 U.S.C. ' 300aa-15(a);

                  A lump sum of $21,481.45, which amount represents reimbursement of a lien for
                   services rendered on behalf of J.A.B., in the form of a check payable jointly to
                   Petitioner and Nebraska Department of Health and Human Services (P.O. Box
                   95026; Lincoln, NE 68509-5026; Attention: Lori Woita), which Petitioner agrees
                   to endorse to the State; and

                  A lump sum of $14,102.95, which amount represents reimbursement of a lien
                   for services on behalf of J.A.B., in the form of a check payable jointly to
                   Petitioner and First Recovery Group, LLC (Attn: Jeniece Goldsmith; 26899
                   Northwestern Hwy; Suite 250; Southfield, MI 48033).

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amounts set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith.3


        IT IS SO ORDERED.

                                                                /s/ Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Special Master

3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or
separately) a notice renouncing their right to seek review.

                                                      2
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